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                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: Robert A Donald
                                    Debtor(s)
                                                                                     Chapter 13
Lakeview Loan Servicing, LLC
                                    Movant
                  v.
                                                                                NO. 22-13337 PMM
Robert A Donald
                                    Debtor(s)

Edward Costigan                                                          11 U.S.C. Sections 362 and 1301
Christine A Costigan
                                    Co-Debtors

Kenneth E. West
                                    Trustee


                                                         ORDER
         AND NOW, this 5th         day of August          , 2024 upon the filing of a Certification of Default by the
Moving Party in accordance with the Stipulation of the parties approved on July 26, 2023, it is ORDERED AND
DECREED that:
         The Automatic Stay of all proceedings, as provided under Section 362 of the Bankruptcy Abuse
Prevention and Consumer Protection Act of 2005 (The Code), 11 U.S.C. Section 362 and the Co-Debtor Stay
under Section 1301 of the Bankruptcy Code (if applicable), is modified with respect to the subject premises located
at 324 West Laughead Avenue a/k/a 324 Laughead Avenue, Linwood, PA 19061 (“Property”), so as to allow
Movant, and its successors or assignees, to proceed with its rights and remedies under the terms of the subject
Mortgage and pursue its in rem State Court remedies including, but not limited to, taking the Property to Sheriff’s
Sale, in addition to potentially pursuing other loss mitigation alternatives including, but not limited to, a loan
modification, short sale or deed-in-lieu of foreclosure. Additionally, any purchaser of the Property at Sheriff's Sale
(or purchaser's assignee) may take any legal action for enforcement of its right to possession of the Property.
         The stay provided by Bankruptcy Rule 4001(a)(3) has been waived.




                                                              Hon. Patricia M. Mayer
                                                               United States Bankruptcy Judge.
